               Case 2:14-cv-00215-MEF-WC Document 1 Filed 03/26/14 Page 1 of 8
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                                      IN THE UNITED STABS DISTRICT COURT FOR
                                          THDDLE DISTRICT OF ALABAMA                                    RECEvEp
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              v.                                              )       C'ACflONNO.
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               j)ç            roue'                           )        Court)
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               Cc4rk             tc (ç&r-teaJ)
               14i*144^                                 vt' j,J
      •         WA1)e Lk) cAv4 -
              Name of person(s) who violated your              )
              cuLsfltat]u&l u2hiZ. (T.jsj the iaus
              of all the person.)                                 )


               I.        PREVIOUS LAWSUITS
                         A.    Have you begun other lawsuits in stale or federal court dealing with thesame or
                               similar facts involved in this action? YES

                         B      Have you begun other lawsuits in state or federal court relating to your
                                imprisoment?     YES E        NO

                                 If your answer to A or B is yes. , describe each lawstiit in the space below. (If there
                                  S more than one lawsuit, describe the additional lawsuits on another piece of paper,
                                 using the same outline.)

                                        Parties to this previous lawsuit:   li .PC
                                        Plaintiff (s)




                                        Defendant(s)



                                 2.      Court (if federal court, name the district; if state court, name the county)
                                                                                                                           N14
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             3.     Dotiiier

             4.     Name of judge to whom case wa.s ass; gied


             5      Disposition (for example: was the case dismissed? Was it appealed? Is it still
                    pending?)

             6.     Aoxiate daxeof filing lawsuit

             7.     Approiniat date of disposition

FBI    PLACE OF PRESENT CONFDE1VNT____________________________




       CONSTITUTIONAL RIGHTS.

                 NAME                                       ADDRESS

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 6.

  Iv    tKE DATE UON WmCH SA VIOLATION OCCURRED

        \V
  V. STATE BRIEFLY THE GRO1UNDS ON WHICH YOU BASE YOUR ALLEGATION
        THAT YOUR CONSTITUTIONAL RIGHTS ARE BEThG VIOLATED:

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     Case 2:14-cv-00215-MEF-WC Document 1 Filed 03/26/14 Page 3 of 8


     STATE-BR=-FLY THE FACTS WCH SUPPORT TEES GROUND. (State as best vcu ca the
     ti! e, p.ce and manner and person involve&)
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       GROUND
 Case 2:14-cv-00215-MEF-WC Document 1 Filed 03/26/14 Page 4 of 8


 Vi. STATE BRIEFLY EXACTLY WHAT YOU WANT THE COURT TO DO FOR YOU
      MAKE NO LEGAL ARGUMENT. CITE NO CASES OR STATUTES.




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       Executed on
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                                    Si?-Mu of plaintiff(s)



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